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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-08-324 GEB
                                  )
12                  Plaintiff,    ) STIPULATION AND [PROPOSED] ORDER TO
                                  ) VACATE STATUS CONFERENCE AND SET
13        v.                      ) ENTRY OF PLEA OR TRIAL SETTING
                                  )
14   JOHN ALLEN LEE, et al.,      )
                                  )
15                 Defendants.    )
     _____________________________)
16
17        The United States of America, through its counsels of record,
18   Lawrence G. Brown, Acting United States Attorney for the Eastern
19   District of California, and William S. Wong, Assistant United States
20   Attorney, and defendant John Allen Lee, through his attorney, Ronald
21   Peters, Esq., and defendant Christine Corsbie, through her attorney,
22   Erin Radekin, Esq., hereby stipulate and agree that the status
23   conference scheduled for May 29, 2009, should be vacated and a
24   hearing for an entry of plea or trial setting be schedule for July
25   10, 2009, at 9:00 a.m.
26        Counsel for the government and the defendants are actively
27   negotiating a possible resolution to this matter and require
28   additional time.

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 1        Parties agree that time be excluded pursuant to 18 U.S.C. §
 2   3161(h)(8)(B)(iv) - Local Code T-4 - reasonable time to prepare and
 3   for continuity of counsel.        The parties agree that time be excluded
 4   under this provision for the reasons stated above from May 29, 2009,
 5   to and including July 10, 2009.
 6                                                 Respectfully submitted,
 7                                                 LAWRENCE G. BROWN
                                                   Acting United States Attorney
 8
 9   Dated: May 28, 2009                 By:       /s/ William S. Wong
                                                   WILLIAM S. WONG
10                                                 Assistant U.S. Attorney
11
12   Dated: May 28, 2009                 By:       /s/ Ronald Peters
                                                   RONALD PETERS, ESQ.
13                                                 Attorney for Defendant
                                                   JOHN ALLEN LEE
14
15   Dated: May 28, 2009                 By:       /s/ Erin Radekin
                                                   ERIN RADEKIN, ESQ.
16                                                 Attorney for Defendant
                                                   CHRISTINE CORSBIE
17
     ____________________________________________________________________
18                                   ORDER
19        Good cause having been shown, it is hereby ordered that this
20   matter be set for entry of plea or trial setting on July 10, 2009,
21   at 9:00 a.m. and that time should be excluded under Local Code T-4
22   from May 29, 2009, to and including July 10, 2009.
23   Dated:    June 1, 2009
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25                                      GARLAND E. BURRELL, JR.
26                                      United States District Judge

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